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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                        §
    In re:                                                              § Chapter 11
                                                                        §
    IHEARTMEDIA, INC., et al.,1                                         § Case No. 18-31274 (MI)
                                                                        §
                               Debtors.                                 § (Jointly Administered)
                                                                        §

    AGENDA FOR MOTIONS SCHEDULED FOR MAY 30, 2018, AT 10:00 A.M.
 (PREVAILING CENTRAL TIME), BEFORE THE HONORABLE MARVIN ISGUR
AT THE UNITED STATES BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT
 OF TEXAS, AT COURTROOM 404, 515 RUSK STREET, HOUSTON, TEXAS 77002

       The above-referenced debtors and debtors in possession (collectively, the “Debtors”)
hereby file their agenda for matters set for hearing on May 30, 2018, at 10:00 a.m. (prevailing
Central Time).

I.           UNCONTESTED MATTERS

1.           Debtors’ Motion to Approve Procedures for De Minimis Asset Transactions [Docket No. 615]

                    Responses Received: None

                    Related Documents: None

                    Status: This matter is going forward.

2.           Debtors’ Motion for Entry of an Order Extending the Time Within Which the Debtors May
             Remove Actions [Docket No. 609]

                    Responses Received: None

                    Related Documents:

                    A.       Proposed Order to Approve Procedures for De Minimis Asset Transactions
                             [Docket No. [Docket No. 852]



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      Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
      complete list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
      noticing agent at https://cases.primeclerk.com/iheartmedia. The location of Debtor iHeartMedia, Inc.’s principal
      place of business and the Debtors’ service address is: 20880 Stone Oak Parkway, San Antonio, Texas 78258.
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             Status: This matter is going forward.

3.     Agreed Order and Stipulation Resolving the United States Trustee’s Objection to the
       Debtors’ Cash Management Motion [Docket No. 846]

             Status: This matter is going forward.

II.    INCENTIVE PLAN MOTION MATTERS

4.     Emergency Motion of the United States Trustee to Reschedule Hearing on Motion to
       Approve Debtors’ 2018 Incentive Plans and to Enlarge Deadlines to File Responses
       [Docket No. 823]

             Responses Received: None

             Related Documents:

             A.     Debtors’ Motion for Entry of an Order Authorizing the Debtors to File
                    Under Seal the Performance Metrics for the 2018 Incentive Plans
                    [Docket No. 605]

             B.     Debtors’ Motion for Entry of an Order Authorizing and Approving the
                    Debtors’ 2018 Inc Order Continuing Hearings [Docket No. 848]entive
                    Plans [Docket No. 606]

             C.     Order Continuing Hearings [Docket No. 848]

             Status: This matter is going forward for purposes of rescheduling the hearings on
             the Debtors’ Motion for Entry of an Order Authorizing and Approving the Debtors’
             2018 Incentive Plans [Docket No. 606].

III.   ADVERSARY PROCEEDING

       Wilmington Savings Fund Society, FSB, § solely in its capacity as successor
       indenture § trustee to the 6.875% Senior Notes due 2018 § and 7.25% Senior Notes
       due 2027, and not in its individual capacity v. iHeartCommunications, Inc., f/k/a
       Clear § Channel Communications, Inc., AMFM § Broadcasting Licenses, LLC,
       AMFM § Broadcasting, Inc., AMFM Operating, Inc., § AMFM Radio Licenses, LLC,
       AMFM Texas § Broadcasting, LP, AMFM Texas Licenses, LLC § AMFM Texas,
       LLC, Capstar Radio Operating, § and Capstar TX, LLC - Adversary Proceeding
       Case No. 18-03052 (MI) - Adversary Proceeding Case No. 18-03052 (MI)

             Status: A status conference is going forward on this matter [Docket No. 122].




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IV.   JEFFERIES RETENTION APPLICATION

5.    Application of the Official Committee of Unsecured Creditors of iHeartMedia, Inc., et al.,
      for Entry of an Order Authorizing the Committee to Retain and Employ Jefferies LLC as
      Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a), Nunc Pro Tunc to
      March 30, 2018 [Docket No. 519]

             Responses Received:

             A.     Objection of the Term Loan/PGN Group to the Application of the Official
                    Committee of Unsecured Creditors for Entry of an Order Authorizing the
                    Committee to Retain and Employ Jefferies LLC as Investment Banker
                    Pursuant to 11 U.S.C. §§ 328(a) and 1103(a), Nunc Pro Tunc to
                    March 30, 2018 [Docket No. 632]

             B.     Reply of the Official Committee of Unsecured Creditors of IHeartMedia,
                    Inc., et al. to the Objection of the Term Loan/PGN Group to the Application
                    of the Official Committee of Unsecured Creditors for Entry of an Order
                    Authorizing the Committee to Retain and Employ Jefferies LLC as
                    Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a), Nunc Pro
                    Tunc to March 30, 2018 [Docket No. 850]

             Related Documents:

             A.     Term Loan/PGN Group’s Witness and Exhibit List [Docket No. 829]

             B.     Witness and Exhibit List of the Official Committee of Unsecured Creditors
                    of iHeartMedia, Inc., et al. for Hearing Scheduled May 30, 2018
                    [Docket No. 830]

             Status: This matter is going forward.

V.    CONTINUED MATTERS

6.    Debtors’ Application for Entry of an Order (A) Authorizing the Employment and Retention
      of Moelis & Company LLC as Its Investment Banker and Financial Advisor for the Debtors
      and Debtors in Possession Effective Nunc Pro Tunc to the Petition Date; and (B) Granting
      Related Relief [Docket No. 266]

             Responses Received:

             A.     Omnibus Objection of the Official Committee of Unsecured Creditors to
                    Debtors’ Applications to Retain Moelis & Company LLC and LionTree
                    Advisors LLC as Financial Advisors [Docket No. 735]

             B.     The Term Loan/PGN Group’s Combined Objection to the Debtors’
                    Application for Entry of an Order Authorizing Employment of Moelis &
                    Company [ECF No. 266] and the Debtors’ Emergency Application for

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                   Entry of an Order Authorizing Employment of LionTree Advisors
                   [ECF No. 569] [Docket No. 737]

            C.     Joint Reply of the Debtors, Moelis & Company LLC, and LionTree
                   Advisors LLC in Support of the Debtors’ Applications Authorizing and
                   Approving the Employment and Retention of Moelis & Company LLC as
                   Investment Banker and LionTree Advisors LLC as Special Financial
                   Advisor Nunc Pro Tunc to the Petition Date [Docket No. 783]

            Related Documents: None

            A.     Stipulation Extending Objection Deadlines Regarding Debtors’
                   Applications for Entry of Orders (A) Authorizing the Employment and
                   Retention of (I) Moelis & Company LLC and (II) Perella Weinberg Partners
                   LP, as Its Investment Bankers and Financial Advisors for the Debtors and
                   Debtors in Possession Effective Nunc Pro Tunc to the Petition Date; and
                   (B) Granting Related Relief [Docket No. 531]

            B.     Notice of Reset Hearings [Docket No. 539]

            C.     Proposed Order Granting Debtors’ Application (A) Authorizing the
                   Employment and Retention of Moelis & Company LLC as Investment
                   Banker and Financial Advisor for the Debtors and Debtors in Possession,
                   Effective Nunc Pro Tunc to the Petition Date; (B) Waiving and Modifying
                   Certain Time-Keeping Requirements; and (C) Granting Related Relief
                   [Docket No. 570]

            D.     Notice of Reset Hearings [Docket No. 573]

            E.     Notice of Reset Hearings [Docket No. 628]

            F.     Agreed Scheduling Order Regarding Debtors’ Applications for Entry of
                   Orders Authorizing Their Employment and Retention of Moelis &
                   Company LLC and LionTree Advisors LLC [Docket No. 633]

            Status: This matter will be continued to a date to be determined.

7.   Debtors’ Emergency Application for Entry of an Order (A) Authorizing the Employment
     and Retention of LionTree Advisors LLC as Special Financial Advisor with Respect to
     Potential Equity Investments for the Debtors and Debtors in Possession Effective Nunc Pro
     Tunc to the Petition Date; and (B) Granting Related Relief [Docket No. 569]

            Responses Received:

            A.     Omnibus Objection of the Official Committee of Unsecured Creditors to
                   Debtors’ Applications to Retain Moelis & Company LLC and LionTree
                   Advisors LLC as Financial Advisors [Docket No. 735]


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           B.     The Term Loan/PGN Group's Combined Objection to the Debtors’
                  Application for Entry of an Order Authorizing Employment of Moelis &
                  Company [ECF No. 266] and the Debtors' Emergency Application for Entry
                  of an Order Authorizing Employment of LionTree Adivsors [ECF No. 569]
                  [Docket No. 737]

           C.     Joint Reply of the Debtors, Moelis & Company LLC, and LionTree
                  Advisors LLC in Support of the Debtors’ Applications Authorizing and
                  Approving the Employment and Retention of Moelis & Company LLC as
                  Investment Banker and LionTree Advisors LLC as Special Financial
                  Advisor Nunc Pro Tunc to the Petition Date [Docket No. 783]

           Related Documents:

           A.     Notice of Reset Hearings [Docket No. 573]

           B.     Notice of Reset Hearings [Docket No. 628]

           C.     Agreed Scheduling Order Regarding Debtors’ Applications for Entry of
                  Orders Authorizing Their Employment and Retention of Moelis &
                  Company LLC and LionTree Advisors LLC [Docket No. 633]

           Status: This matter will be continued to a date to be determined.

8.   Debtors’ Motion for Entry of an Order Authorizing the Debtors to File Under Seal the
     Performance Metrics for the 2018 Incentive Plans [Docket No. 605]

           Responses Received:

           A.     Objection of the Acting United States Trustee to Debtors’ Motion for Entry
                  of an Order Authorizing the Debtors to File Under Seal the Performance
                  Metrics for the 2018 Incentive Plans [Docket No. 822]

           Related Documents:

           A.     Notice of Reset Hearings [Docket No. 831]

           B.     Order Continuing Hearings [Docket No. 848]

           Status: This matter will be continued to a date to be determined.

9.   Debtors’ Motion for Entry of an Order Authorizing and Approving the Debtors’ 2018
     Incentive Plans [Docket No. 606]

           Responses Received: None

           Related Documents:

           A.     Notice of Reset Hearings [Docket No. 831]

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     B.     Order Continuing Hearings [Docket No. 848]

     Status: This matter will be continued to a date to be determined.



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Houston, Texas
May 29, 2018

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                                     Certificate of Service

        I certify that on May 29, 2018, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                      /s/ Patricia B. Tomasco
                                                      Patricia B. Tomasco
